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                                        U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York
                                                    One St. Andrew’s Plaza
                                                    New York, New York 10007




                                                     January 25, 2022

BY ECF

The Honorable Kimba M. Wood
United States District Judge
Southern District of New York
500 Pearl St.
New York, NY 10007

                       Re:      United States v. Todd Kozel
                                S1 19 Cr. 460 (KMW)

Dear Judge Wood:

        The Government writes respectfully in response to the defendant’s submission of a
“forensic expert report” by Dr. Alfred Joshua (the “Joshua Report”) in further support of its
sentencing submission for defendant Todd Kozel.

         By way of background, the Government argued in its sentencing submission that the
Bureau of Prisons (“BOP”) is well-suited to care for the defendant notwithstanding his medical
conditions. In response, the defense submitted the Joshua Report, which, in sum, opines that
“[w]ith the complexity of Todd’s current medical history, it places an undue burden onto medical
staff at the [BOP] to coordinate the various aspects of his care in the current environment where
access is severely impacted from staffing shortages at outside healthcare facilities.” See Joshua
Report at 4. Dr. Joshua further concludes that “it would be significantly safer for Todd to
receive his medical care in a non-correctional setting” than in a BOP facility. Id. at 5.

        The Government requested that the BOP review the Joshua Report and provide a
response to the opinion of Dr. Joshua that Kozel cannot or should not be treated in a BOP
correctional setting. In doing so, the Government provided to the BOP all information available
to the Government concerning Kozel’s medical condition. 1 After reviewing these materials—
which consisted of the Joshua Report, treating physicians’ letters, and relevant portions of the
presentence investigation report—the BOP’s Northeast Region chief medical officer, Dr. Diane
Sommer, M.D., responded to the Government’s inquiry. See Exhibit A.

        In sum, Dr. Sommer’s considered opinion, after reviewing all of the above materials, is
that “the BOP will be able to provide appropriate care for Mr. Kozel should he be sentenced to a
term of incarceration and committed to the custody of the BOP.” Exhibit A at 3. In addition, Dr.

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 The Government has long sought from the defense more information regarding the defendant’s
medical conditions, but none has been forthcoming other than the limited materials described
above. The Probation Office similarly confirmed that the defendant provided little information
concerning his treatment, care, and prognosis.
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Sommer has provided the Court with a BOP fact sheet relating to BOP medical care, which
highlights the options available for inmates requiring higher level care. See Exhibit B. The
Government is prepared to discuss these findings further at tomorrow’s sentencing hearing,
should the Court have additional questions.

         Lastly, the Government objects to the defense’s improper use of an expert witness to
insert unestablished hearsay “facts” about the defendant’s medical condition into the record.
Despite the Government’s best efforts, the defendant has never been fully forthcoming regarding
his treatments, prognosis, or medical records. Apart from brief letters from Kozel’s treating
physicians, no medical records have ever been provided to the Government or the Probation
Office to establish a record of Kozel’s conditions and treatment. Now, three days before
sentencing, the defense submitted an export report that recites unsupported hearsay as the basis
for its primary opinions. Thus, for the first time, the Government has learned, among other
things, (1) that Kozel is not vaccinated for COVID-19, (2) that he purportedly was not
vaccinated on the advice of his doctor due to his other conditions, and (3) that he “has not been
found to be in remission from his cancer,” Joshua Report at 3. This is all new information to the
Government, and because it is inexplicably being offered via a paid expert, instead of Kozel’s
actual doctor, it contains a double layer of hearsay that is incapable of ready verification,
particularly where the Government has never seen the defendant’s medical records. The
Government respectfully submits that the Court should give little, if any, weight to the new,
unsupported hearsay allegations about the defendant’s medical condition contained within the
Joshua Report. 2




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  The Court should view the wholesale insertion of hearsay facts into the sentencing record through
a purported expert witness with deep suspicion. Of course, generally speaking, under Rule 703,
experts can testify to opinions based on inadmissible evidence, including hearsay, if experts in the
field reasonably rely on such evidence in forming their opinions. Fed. R. Evid. 703. “The expert
may not, however, simply transmit that hearsay to the jury.” United States v. Dukagjini, 326 F.3d
45, 57 (2d Cir. 2003) (“When an expert is no longer applying his extensive experience and a
reliable methodology, Daubert teaches that the testimony should be excluded.”). “Instead, the
expert must form his own opinions by “applying his extensive experience and a reliable
methodology” to the inadmissible materials. Id. at 58. Otherwise, the expert is simply “repeating
hearsay evidence without applying any expertise whatsoever.” Id. at 58–59; United States v.
Mejia, 545 F.3d 179, 197 (2d Cir. 2008).

       The Government submits that the animating concerns underlying these principles in the
context of jury trials apply here too, notwithstanding that hearsay is generally permitted at
sentencing hearings. Simply put, Kozel has ready access to his own medical records and could
have provided them to the Government and the Court if he wished the Court to consider them.
There is no basis to ask this Court to rely on hearsay medical facts transmitted by a paid expert
who was not involved in Kozel’s diagnosis or treatment.
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        For the reasons set forth in the Government’s sentencing submission, the Government
submits that a Guidelines sentence is appropriate in this case and that a lower sentence, much
less the defendant’s requested sentence of home confinement and probation, would fail to reflect
the seriousness and aggravated nature of the defendant’s offense conduct, to afford general
deterrence, and to promote respect for the law.


                                          Respectfully submitted,

                                          DAMIAN WILLIAMS
                                          United States Attorney

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